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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


 JUSTIN MCMURRAY,

                PLAINTIFF,
                                                      CASE NO. 3:19-CV-86-JHM
 v.

 INDIANA WESLEYAN UNIVERSITY (MARION
 COLLEGE), INC., ET AL.,

                DEFENDANTS.


      INDIANA WESLEYAN UNIVERSITY (MARION COLLEGE), INC.’S
                    ANSWER TO COMPLAINT

        Indiana Wesleyan University (Marion College), Inc. (“IWU”), by and through its

attorneys, answers Plaintiff Justin McMurray’s (“Plaintiff”) Complaint, as follows:

        Except as expressly admitted or qualified hereafter, IWU denies each and every

allegation of the Complaint.

                                    Preliminary Statement

        1.     IWU denies that it violated the FCRA, and denies that it is liable to Plaintiff

under the FCRA or for negligence or defamation, and denies all remaining allegations in

paragraph 1.

                                            Parties

        2.     IWU lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 2 and therefore denies them.

        3.     The allegation in paragraph 3 that Plaintiff is a “consumer” as defined by the

FCRA asserts a legal conclusion to which no response is necessary. To the extent a response

is required, IWU admits the allegations.
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       4.      IWU admits the allegations in paragraph 4.

       5.      With respect to the allegations in paragraph 5, IWU denies that the FCRA

defines “furnisher of information,” and thus denies paragraph 5.

       6.      Because the allegations in paragraph 6 concern another defendant, IWU lacks

knowledge or information sufficient to form a belief as to the truth of the allegations and

therefore denies them.

       7.      Because the allegations in paragraph 7 concern another defendant, IWU lacks

knowledge or information sufficient to form a belief as to the truth of the allegations and

therefore denies them.

       8.      Because the allegations in paragraph 8 concern another defendant, IWU lacks

knowledge or information sufficient to form a belief as to the truth of the allegations and

therefore denies them.

                                          Jurisdiction

       9.      With respect to the allegations in paragraph 9, IWU denies that Plaintiff has

standing to assert his claims under Article III of the United States Constitution, and admits

only that it does not otherwise dispute this Court’s jurisdiction or venue in this District.

IWU lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 9 and therefore denies them.

                                     Factual Background

       10.     With respect to the allegations in paragraph 10, IWU admits that Plaintiff

made late payments on his Perkins Loan account (hereafter “Account”). IWU lacks

knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 10 and therefore denies them.


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       11.     With respect to the allegations in paragraph 11, IWU admits only that it sent

Plaintiff a letter dated August 21, 2018, which states “The original servicer of your loan,

University Accounting Services, has on file a UDF (Universal Data Form) stating that any

previous delinquent history is to be deleted.” IWU denies that Plaintiff disputed the

Account “immediately upon his discovery of the derogatory tradeline.” IWU lacks

knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 11 and therefore denies them.

       12.     With respect to the allegations in paragraph 12, IWU admits only that

Equifax notified it of Plaintiff’s dispute relating to the Account.

       13.     IWU lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 13 and therefore denies them.

       14.     IWU denies the allegations in paragraph 14.

                                             Claims

                                      Negligence - IWU

       15.     IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       16.     IWU denies the allegations in paragraph 16.

       17.     IWU denies the allegations in paragraph 17.

       18.     IWU denies the allegations in paragraph 18.

                                     Negligence – Equifax

       19.     IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.




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       20.    Because the allegations in paragraph 20 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       21.    Because the allegations in paragraph 21 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       22.    Because the allegations in paragraph 22 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

                                     Defamation - IWU

       23.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       24.    IWU denies the allegations in paragraph 24.

       25.    IWU denies the allegations in paragraph 25.

                                    Defamation – Equifax

       26.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       27.    Because the allegations in paragraph 27 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       28.    Because the allegations in paragraph 28 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.


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                 Negligent Violation of Fair Credit Reporting Act - IWU

       29.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       30.    IWU denies the allegations in paragraph 30.

       31.    IWU denies the allegations in paragraph 31.

                Negligent Violation of Fair Credit Reporting Act – Equifax

       32.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       33.    Because the allegations in paragraph 33 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       34.    Because the allegations in paragraph 34 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       35.    Because the allegations in paragraph 35 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

                  Willful Violation of Fair Credit Reporting Act – IWU

       36.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       37.    IWU denies the allegations in paragraph 37.

       38.    IWU denies the allegations in paragraph 38.




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                 Willful Violation of Fair Credit Reporting Act – Equifax

       39.    IWU incorporates by reference its responses to the foregoing allegations of the

Complaint.

       40.    Because the allegations in paragraph 40 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       41.    Because the allegations in paragraph 41 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       42.    Because the allegations in paragraph 42 concern another defendant, IWU

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

and therefore denies them.

       IWU denies that Plaintiff is entitled to the relief he seeks in the WHEREFORE

clause immediately following paragraph 42.

                                AFFIRMATIVE DEFENSES

       1.     Plaintiff has failed, in whole or in part, to state a claim upon which relief may

be granted because Plaintiff’s state-law claims are preempted by the Fair Credit Reporting

Act.

       2.     Plaintiff failed to mitigate his damages, if any.

       3.     Plaintiff’s damages, if any, were caused by the actions and/or inaction of third

parties and/or intervening causes over which IWU has no control.




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        4.      IWU acted at all times in compliance with the Fair Credit Reporting Act, 15

U.S.C. § 1681 et seq., and it is entitled to each and every defense stated in the Act and any and

all limitations of liability.

        5.      IWU acted reasonably and in good faith at all material times based on all

relevant facts and circumstances known by it at the time it so acted.

        6.      Plaintiff is estopped from recovering from IWU.

        7.      IWU pleads and asserts all applicable constitutional, statutory, and common

law limitations on punitive damages.

        8.      As a result of this litigation, IWU was required to retain the undersigned

counsel, to whom it is obligated to pay a reasonable fee, for which IWU is entitled to recovery

pursuant to 15 U.S.C. §§ 1681n(c) and 1681o(b).

        9.      IWU reserves the right to supplement its affirmative defenses as it continues

with its factual investigation of Plaintiff’s claims.

        WHEREFORE, IWU respectfully request that this Court:

        a.      Dismiss all of Plaintiff’s claims against IWU on the merits and with prejudice;

        b.      Award IWU all costs, disbursements, and reasonable attorneys’ fees allowed

by law; and

        c.      Grant IWU any other relief that the Court deems just and equitable.

                                                        /s/ Jeffrey S. Moad
                                                        Neal F. Bailen
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                                   CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing document was served on all counsel of record

through CM/ECF on March 22, 2019.



                                               /s/ Jeffrey S. Moad
                                             Counsel for Defendant




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